        Case 2:23-cr-00034-LMA-DPC Document 41 Filed 04/18/23 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                CRIMINAL NO. 23-34

 VERSUS                                                  SECTION "I"

 ALPHONSE BAZILE                                         VIOLATION: 18 U.S.C.' 922(g)(1),
 RAYSHAUD GREEN                                          922(o), 924(a)(2) and 924(a)(8)



          RE-NOTICE OF PRETRIAL CONFERENCE AND TRIAL BY JURY
          PRETRIAL CONFERENCE RESET FOR JUNE 21, 2023 AT 3:00 P.M.

Take Notice that this criminal case has been reset for TRIAL on JULY 24, 2023 at 8:30 A.M.,
before U.S. District Judge Lance M. Africk, 500 Poydras Street, Courtroom C427, New Orleans,
LA 70130.

 **IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING**
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY OUTSIDE THE AFORESAID COURTROOM FOR EVALUATION
AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


Date:   April 18, 2023                           CAROL MICHEL, CLERK

TO:                                              Issued by: Bridget Gregory, Deputy Clerk
Alphonse Bazile      (CUSTODY)
Rayshaud Green       (CUSTODY)                   AUSA:      Michael Trummel, Elizabeth Privitera

Counsel for defendant Alphonse Bazile:
Thomas Benton Harang , Jr.                       U.S. Marshal
2121 N. Causeway Blvd., Suite 259                U.S. Probation Office
Metairie, LA 70119                               U.S. Probation Office - Pretrial Services Unit
Email: tom@tomharanglaw.com
                                                 JUDGE
Counsel for defendant Rayshaud Green:
Jerrod Thompson-Hicks, AFPD                      MAGISTRATE

If you change address,                           COURT REPORTER COORDINATOR
notify clerk of court                            INTERPRETER: NONE
by phone, 589-7752
